                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

 IN RE: 3M COMBAT ARMS                       Case No. 3:19md2885
 EARPLUG PRODUCTS
 LIABILITY LITIGATION
                                             Judge M. Casey Rodgers
 This Document Relates to All Cases          Magistrate Judge Gary R. Jones


                           PRETRIAL ORDER NO. 3

      This Order governs docketing and filing procedures in all actions that have

been or will be filed in, removed to, or transferred to this Court as part of the 3M

Combat Arms Earplug Products Liability Litigation.

I.    Master Docket

      The Clerk of this Court will maintain a master docket under the style In re:

3M     Combat      Arms     Earplug     Products     Liability    Litigation,   No.

3:19md2885/MCR/GRJ. All pleadings and other documents filed in this MDL must

bear the same caption as this Order. When a document is intended to apply to all

actions, this must be indicated by the words: “This Document Relates to All Cases.”

When a document is intended to apply to fewer than all of the cases, the style and

docket number for each individual case to which the document relates must appear

immediately after or below the words “This Document Relates to” in the captions.

Documents that pertain to fewer than all cases must also be filed in both the master

docket and the individual cases to which the document pertains.
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       Any attorney who files a Notice of Appearance in a related case will be added

to the master docket as a Notice-Only party. Notice-Only parties will not be listed

on the master docket, but their attorneys of record will have full access to the master

docket, including the ability to file.

II.    Individual Dockets

       The Clerk will also maintain a separate docket for each related action that is

filed in, removed to, or transferred to this MDL. Each such action will be assigned

a new case number in this Court. Any attorney who files a Notice of Appearance in

an individual case will be listed on the docket for that case.

III.   Electronic Filing

       All documents filed in this MDL must be filed electronically and in

compliance with the Local Rules and the Court’s CM/ECF Attorney User Guide,

which is available at http://www.flnd.uscourts.gov/cmecf-attorney-users-guide. An

attorney who, due to exceptional circumstances, is unable to comply with the

requirements of electronic filing, may apply to the Court for an order granting an

exemption. The application must be in writing, filed with the Clerk, and state the

reason for the attorney’s inability to comply. Pro se litigants who have not been

authorized to file electronically will continue to file their pleadings with the Clerk

in the traditional manner, on paper.




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IV.    Attorney Admission

       The Rules of Procedure of the Judicial Panel on Multidistrict Litigation (“the

Panel”) provide that an attorney of record in any action transferred under 28 U.S.C.

§ 1407 may continue to represent his or her client in the transferee court. See JPML

Rule 2.1(c). To give effect to this rule, there are two application tracks for attorneys

who are not currently admitted to practice in this district to appear in the MDL. The

first track must be followed by attorneys of record in any action transferred to this

district by the Panel. The second track must be followed by attorneys in any related

action that is filed in or removed to this district (i.e., actions that do not require Panel

action).

       A.       Attorneys of Record in Transferred Cases

       Attorneys of record in cases transferred to this MDL who are not already

admitted to practice in the Northern District of Florida must be administratively

admitted through a modified pro hac vice application. This application process

requires an attorney to fulfill the following criteria:

                1.     Complete the online Attorney Admission Tutorial.1

                2.     Complete the CM/ECF Online Tutorials.2




       1
           http://www.flnd.uscourts.gov/content/attorney-admission-tutorial.
       2
           https://www.pacer.gov/ecfcbt/dc3/.


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                 3.      Possess an upgraded PACER account.3

        Once these criteria are met, the attorney must apply for pro hac vice admission

to the MDL. The instructions for doing so are available under the “Pro Hac Vice”

link on the Court’s NextGen Account Help page. 4 The application must reference

this Order. Attorneys of record in transferred cases will not be required to pay a pro

hac vice admission fee, file a motion to appear pro hac vice, or associate with local

counsel.

        B.       Attorneys of Record in Cases Filed In or Removed To this District

        Attorneys who initiate cases independent of the Panel’s transfer process must

be admitted through the standard pro hac vice admission process, in accordance with

the Attorney Admission Memo, available at http://www.flnd.uscourts.gov/attorney. 5

The pro hac vice application must reference this Order. An attorney’s motion to

appear pro hac vice must be filed only in the master docket. Filing a pro hac vice

motion in an individual docket may result in duplicative fees. Association with local

counsel is not required.




        3
         Instructions for how to obtain or update a PACER account may be found at
http://www.flnd.uscourts.gov/nextgen-account-help.
        4
            http://www.flnd.uscourts.gov/nextgen-account-help.
        5
            Attorneys must have a case pending in the MDL before filing a motion to appear pro hac
vice.


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V.    Notice of Appearance

      All attorneys seeking to appear in this MDL must file a Notice of Appearance

in both the master docket and all individual cases in which the attorney is an attorney

of record.

VI.   Service

      Unless the parties agree otherwise, service must be made on each defendant

in accordance with the Federal Rules of Civil Procedure

      DONE and ORDERED, on this 9th day of April, 2019.


                                 M. Casey Rodgers
                                 M. CASEY RODGERS
                                 UNITED STATES DISTRICT JUDGE




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